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     Anthony Martinez
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10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12

13   DOUGLAS J. REECE, on his own behalf and all             Case No. 3:20-cv-02345-WHO
     others similarly situated,
14
                           Plaintiff,                        PROOF OF SERVICE
15
            v.
16
     ALTRIA GROUP, INC., and JUUL LABS, INC.,
17
                           Defendant.
18
     This document relates to:
19
     ANTHONY MARTINEZ,                                       Case No. 4:20-CV-02597-WHO
20
                           Individual and
21                         Representative Plaintiff,
22          v.
23   ALTRIA GROUP, INC., and JUUL LABS, INC.,
24                         Defendant.
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                                                PROOF OF SERVICE
